       Case 2:19-cv-00179-MV-JHR Document 2 Filed 03/05/19 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO

CLIFTON SKIDGEL,

       Plaintiff,

vs.                                               Cause No. 1:19-CV-179

GEO GROUP, INC.,

       Defendant.


      RULE 7.1 CORPORATE DISCLOSURE STATEMENT OF DEFENDANT GEO

       In accordance with Rule 7.1 of the Federal Rules of Civil Procedure, Defendant The GEO

Group, Inc. hereby states that it has no parent corporation. BlackRock Fund Advisors owns 10%

or more of The GEO Group, Inc.’s stock.

                                   Respectfully submitted,

                                   YLAW, P.C.

                                   /s/ April D. White
                                   April D. White
                                   Attorneys for Defendant The GEO Group, Inc.
                                   4908 Alameda Blvd., NE
                                   Albuquerque, NM 87113
                                   (505) 266-3995
                                   (505) 268-6694 (fax)
                                   awhite@ylawfirm.com
        Case 2:19-cv-00179-MV-JHR Document 2 Filed 03/05/19 Page 2 of 2



I hereby certify that on this 5th day
of March, 2019, I filed the foregoing
electronically and served the following
via U.S. Mail:

Clifton Skidgel, #28869
Lea County Correctional Facility
6900 W. Millen Dr.
Hobbs, NM 88244


/s/ April D. White
April D. White
